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 1                                   UNITED STATES DISTRICT COURT

 2                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 3    _____________________________________________________________

 4                                                                 )
       UNITED STATES OF AMERICA,                                   )   CR17-135-TSZ
 5                                                                 )
                                      Plaintiff,                   )   SEATTLE, WASHINGTON
 6                                                                 )
       v.                                                          )   February 1, 2018
 7                                                                 )
       ZHAOFENG ZHANG,                                             )   SENTENCING HEARING
 8                                                                 )
                                      Defendant.                   )
 9
      _____________________________________________________________
10
                      VERBATIM REPORT OF PROCEEDINGS
11                 BEFORE THE HONORABLE THOMAS S. ZILLY
                       UNITED STATES DISTRICT JUDGE
12    _____________________________________________________________

13

14    APPEARANCES:

15

16

17     For the Plaintiff:                          Catherine Crisham
                                                   Assistant United States Attorney
18                                                 700 Stewart Street
                                                   Suite 5220
19                                                 Seattle, WA 98101

20
       For the Defendant:                          Nicholas Marchi
21                                                 Carney & Marchi
                                                   108 South Washington Street
22                                                 Suite 406
                                                   Seattle, WA 98104
23

24

25



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 1                 THE CLERK:             Will counsel please come forward on the

 2    Zhang matter?

 3         The court calls to order cause number CR17-135-Z, United

 4    States of America versus Zhang.                             Counsel, please stand and

 5    make your appearance for the record.

 6                 MS. CRISHAM:               Cate Crisham for the United States.

 7                 MR. MARCHI:              Good afternoon.                 Nicholas Marchi on

 8    behalf of Mr. Zhang.

 9                 THE COURT:             Are the parties ready to proceed with

10    sentencing?

11                 MS. CRISHAM:               Yes.

12                 MR. MARCHI:              Yes.

13                 THE COURT:             All right.             Did the defendant receive a

14    presentence investigation report?

15                 MR. MARCHI:              He has received the initial presentence

16    report.

17                 THE COURT:             And the sentencing recommendations as

18    well?

19                 MR. MARCHI:              He has, Your Honor.

20                 THE COURT:             I've also received and reviewed the plea

21    agreement; the government's sentencing memo; the motion to

22    seal, Docket 272; the motion to seal defendant's supplemental

23    sentencing memo, 281; and the defense memorandum.                                             It's

24    captioned, "Objections and request for downward departure and

25    sentencing memo," 273.                     And then I reviewed the supplemental



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 1    sentencing memo, which attached a letter from the defendant

 2    which I have read.

 3         Anything else I should have received and reviewed?

 4                 MS. CRISHAM:               Not to the government's knowledge, Your

 5    Honor.

 6                 MR. MARCHI:              Not from the defense.

 7                 THE COURT:             Are there any factual disputes of the

 8    facts stated in the presentence report for purposes of

 9    determining guidelines and proceeding with sentencing?

10                 MS. CRISHAM:               Not from the government, Your Honor.

11                 MR. MARCHI:              No, Your Honor.

12                 THE COURT:             I'll adopt all the facts stated in the

13    presentence report.                  Based on those facts I conclude the

14    total offense level is 15, the criminal history category

15    is 1.     And the guideline range is 18 to 24 months.                                           Any

16    objection to those guideline computations?

17                 MS. CRISHAM:               No, Your Honor.

18                 MR. MARCHI:              No, Your Honor.

19                 THE COURT:             All right.             I'll hear from the government

20    as to what the appropriate disposition is.

21                 MS. CRISHAM:               Thank you, Your Honor.                       The government

22    asks the court to sentence Mr. Zhang to a sentence of

23    21 months.          Mr. Zhang played a mid-level role in this

24    conspiracy.           And in his letter to the court he suggests what

25    he did wrong was remaining deliberately ignorant of the fact



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 1    that the women he was transporting to and from brothels were

 2    engaging in prostitution.

 3          But the evidence that was uncovered during the course of

 4    this investigation made clear that Mr. Zhang was much more

 5    than a driver, and not at all ignorant of the true purpose of

 6    this conspiracy.

 7          During his time in the conspiracy, before he was

 8    encountered by law enforcement, he posted numerous

 9    prostitution advertisements on Backpage.com.                                          And, in fact,

10    his ability to speak English made him a very valuable member

11    of the conspiracy, for this reason.

12          He also collected money from the women who were being

13    prostituted at residential brothels.                                   He picked up women who

14    had been recruited by the organization, at Sea-Tac Airport,

15    and he transported them to and from brothels and to out-call

16    dates at various hotels.

17          He also connected potential prostitution customers with

18    the organization.                  And he helped Wang arrange these

19    prostitution dates.                    Again, using his English skills to do

20    so.

21          He even recruited Mr. Wu into the conspiracy, convincing

22    him to begin by working as a driver of women to and from the

23    airport.          So this idea that Mr. Zhang was just a naive

24    college kid who didn't really know what was going on is not

25    borne out by the facts.



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 1         Mr. Zhang was encountered by law enforcement in

 2    April 2015, when he drove one of the prostituted women to a

 3    date with an undercover officer.                             And he agreed to work as a

 4    confidential source in return for potential consideration on

 5    future charges.              And he was given rules.                         And one of those

 6    rules that he agreed to abide by was that he was not going to

 7    engage in unauthorized criminal conduct.                                     And Mr. Zhang did

 8    provide some useful information to the government about how

 9    the organization worked and who played what role and

10    corroborated information that law enforcement already knew.

11         But at the same time that he claimed to be working for the

12    government, he also continued to work for the conspiracy.

13    And he did that without authorization from the FBI.

14    Mr. Zhang in his letter, I think, tries to justify this by

15    saying that he was frustrated with the FBI's investigation

16    and that it wasn't moving in a quick enough pace.                                             And the

17    fact is, the pace of the investigation was not Mr. Zhang's

18    call to make.             He's not law enforcement.                          He's not a member

19    of the investigative team.                        He was a member of the conspiracy

20    who was a source only because he had gotten caught for his

21    illegal conduct.

22         And the FBI rightfully did not take Mr. Zhang's wants and

23    needs into account in determining how they were going to

24    investigate this organization and develop enough proof that

25    charges could be brought.                       In any event, the length of the



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 1    investigation does not justify Mr. Zhang's going behind the

 2    back of law enforcement and continuing to work for the

 3    conspiracy.           If he didn't want to wait anymore for law

 4    enforcement to charge this case, he was more than welcome to

 5    stop working as a source and take his chances in court with

 6    the charges that would be brought against him for his role in

 7    that undercover sting.                     But instead he decided to thwart the

 8    investigation by going back and working with Ms. Wang.

 9         Mr. Zhang is also somewhat misleading in his letter to the

10    court when he suggests that the way he assisted the

11    conspiracy, after becoming a source, was to place a few

12    prostitution ads on the Cityvibe website to help out a

13    friend.       But law enforcement learned that Mr. Zhang actually

14    posted dozens of advertisements, and paid dozens of invoices,

15    between May of 2016 and February 2017.

16         Law enforcement also found messages on Mr. Wu's phone,

17    between Mr. Wu and Mr. Zhang, discussing the best way to use

18    advertisements to connect prostitution customers with women.

19    And these messages were sent well after Mr. Zhang had entered

20    his cooperation agreement with law enforcement.                                           He was also

21    seen on surveillance leaving a known brothel location in

22    Bellevue.

23         And I think all these facts make clear that, despite

24    agreeing to cooperate with law enforcement, Mr. Zhang

25    actually continued to further the business interests of the



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 1    conspiracy in many different ways and on many different

 2    occasions.

 3         The guidelines range is 18 to 24 months.                                       And we believe

 4    that a sentence in the middle of that range, 21 months, is

 5    appropriate to account for Mr. Zhang's role, for the

 6    seriousness of the offense, and his deceptive actions with

 7    regards to law enforcement.

 8         This was a very serious offense.                                Mr. Zhang played an

 9    important role in exploiting vulnerable women for financial

10    gain.     He was involved in the conspiracy for years, since at

11    least 2015.           He played many roles, from driver to money

12    collector to posting ads.                       He was very trusted by Ms. Wang.

13    They had numerous conversations in person and over text about

14    the best way to run the business.                              And he also recruited Mr.

15    Wu, who also became another lieutenant in this organization.

16         We also think Mr. Zhang's deception towards law

17    enforcement warrants a mid-range sentence.                                      He was caught

18    during a prosecution sting, and he tried to play it both

19    ways.     He claimed to be working for law enforcement to avoid

20    getting charged criminally, while at the same time he

21    continued to make money and be involved in the conspiracy.

22         We think that this sentence will also avoid unwarranted

23    sentencing disparities.                     He was a mid-level lieutenant, like

24    Thompson and Wu.

25



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 2                          And Mr. Zhang is not entitled to that.

 3         Twenty-one months is less than the 30 months that was

 4    received by Wang, who was the leader of the conspiracy, and

 5    it's appropriately more than the 12-month sentence that was

 6    received by Mr. He and Mr. Chen, both of whom received

 7    minor-role reductions and who played a minor role in the

 8    offense.        And so, Your Honor, we do believe a sentence of

 9    21 months is appropriate.                       Thank you.

10                 THE COURT:             Thank you.

11                 MR. MARCHI:              Your Honor, what stands before this

12    court today is a 23-year old Chinese male, permanent

13    resident, who came to the United States at age 18 to attend

14    the University of Washington.                           An immature young lad who got

15    involved in prostitution.                       He got arrested.                  He doesn't deny

16    that he was transporting women to out-calls or those

17    meetings.

18         But what the government says in their sentencing

19    memorandum is that he provided some useful information.                                                     I

20    think it's more than he provided "some."                                     He provided a

21    majority of the information that assisted the government in

22    proceeding with its indictment of Ms. Wang and the other

23    parties.

24         In the case of Mr. Zhang, he was arrested in 2015, and he

25    immediately started working for the government.                                           And I'm



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 1    putting up on the Elmo, Your Honor, text messages that were

 2    between Mr. Zhang and his handlers.                                  And they start out

 3    with -- they start out in the beginning, "Hey, Brandon, how

 4    are you doing?               Was Cindy suspicious?"                        I didn't submit this,

 5    Your Honor, as an exhibit, because of the nature of these

 6    exhibits.           And the reason we sealed most of the exhibits,

 7    it's because of his cooperation.                               Brandon is Mr. Zhang.

 8    Cindy is Ms. Wang.

 9          As you can see here on the 4/22/2015 text messages between

10    law enforcement and Mr. Zhang, the officers are asking for

11    bank accounts and contact information for Cindy.                                              Mr. Zhang

12    gets that information and provides it.

13          If you go down to right there, at the top is the account

14    information he provides, and they get that.                                         They requested

15    it.      You go down a little further and there's discussion

16    about getting law enforcement more addresses and providing

17    more information about the contact information.                                             At 5/7/2015,

18    Mr. Zhang provides additional information about additional

19    houses, two more houses that Cindy opens up.

20          We go on further, Your Honor, he gives addresses.                                                He

21    provides locations.                    At the bottom he provides information

22    about other groups that are outside Ms. Wang's conspiracy, to

23    law enforcement.                 He provides information about Mr. Thompson,

24    a co-defendant.                Law enforcement didn't have that.                                  He

25    provided that, the name, telephone numbers and what was going



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 1    on.      He talks about several other houses that were run by

 2    Cindy, some that weren't.

 3          In addition, on 6/24 it talks about approximately 5,000

 4    prostitutes that are originating out of China, providing

 5    again intel and detailed information to the government.

 6          Throughout this, Your Honor, he continually asks his

 7    handlers about, he doesn't need to get in trouble because he

 8    wants to keep his green card.

 9          He also informs law enforcement, and they were not aware

10    of it, that Cindy, one of her houses, had been breached.                                                      And

11    they had -- law enforcement had caught one of the girls, and

12    they were trying to get her to turn on Cindy.                                           And that girl

13    denied.

14          Your Honor, I show these to the court because the

15    government seems to minimize Mr. Zhang's assistance.                                                 He met

16    with them or contacted them at least every week during the

17    time that he was being utilized.

18          Now, again, we come down to the situation where the

19    government says, well, he breached his agreement, he ran his

20    business -- if they're claiming he ran a business, I thought

21    they would know and have locked him up quicker -- and that he

22    was running the business while he was playing two sides of

23    the coin.

24          Your Honor, we're not talking about an individual who is

25    up there in years.                   He's a young man, here in the United



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 1    States.        He doesn't have any criminal history.                                     His future is

 2    -- and I'll address that -- it's going to be very difficult

 3    for him from this point on.

 4         Your Honor, he joined the Army, hoping to fly helicopters.

 5    And that didn't occur, because of this arrest.                                           He was

 6    frustrated and stymied by his handlers.                                     He said he wanted

 7    out, and they were not giving him the option.                                          The

 8    government's statement is:                         He doesn't control how the

 9    investigation runs.                   I agree.           He doesn't control it, but you

10    should at least attempt to assist him.

11                  THE COURT:             Well, the government says something more

12    important, and that is that between May of 2016 and

13    February 2017 he was back in business, unbeknownst to the

14    FBI, renting apartments, moving the women, collecting the

15    money, doing the same thing.

16                  MR. MARCHI:              He was saying he was doing that to

17    assist them.

18         Now, I understand, Your Honor, that can be taken with a

19    grain of salt by the government.                              But the bottom line is,

20    Mr. Zhang has pled guilty and accepted his responsibility.                                                   I

21    would submit that there is minimization involved.                                              However, I

22    don't believe that he is one who deserves a 21-month

23    sentence, given the cooperation he did, and also given the

24    government's characterization of what he did.

25         I would note, Your Honor, in the government's filing,



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 1    ECF 240, I believe it was Ms. Wang's sentencing memo the

 2    government filed, ECF 240 at page 3, the government described

 3    Mr. Zhang as being similar to Thompson and Wu in that he

 4    transported prostitution.                        They also characterized Thompson

 5    and Wu, in that sentencing memorandum, as individuals who

 6    changed money, delivered money, and delivered supplies.

 7         Your Honor, I think that the U.S. Probation recommendation

 8    is more in line with the recommendation that should be

 9    applied.

10         Now, I'm asking for time served.                                 I think that a sentence,

11    given Mr. Zhang's involvement and his role in the offense,

12    would be more appropriate to the sentence that is similar to

13    Thompson and Wu's.

14

15                                                                                             Well,

16    Mr. Zhang did get a cooperation plea.                                   That was withdrawn.

17    Your Honor.            Each case is different.                        However, a reasonable

18    sentence in this case must be applied in this case.                                               And the

19    facts of this case, there are other reasons to go with a

20    sentence recommendation of nine months or U.S. Probation.

21    Namely, the immigration implications on this are going to be

22    great.       Also his age.                Let's start with the immigration.

23         Mr. Zhang has a detainer on him.                                 He is a legal permanent

24    resident.          He will go to Tacoma, if he's released on time

25    served, or from this facility, and there he will be placed



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 1    into removal proceedings.                        He has explained to me that he

 2    would like to take voluntary departure.                                     I don't know that

 3    immigration would agree to that, given the nature of this

 4    conviction.

 5         All this conviction is is a crime that could be waived

 6    through his U.S. citizen status.                              Because of the shame he has

 7    put himself in with his family, his family in China,

 8    Mr. Zhang hasn't been very communicative with anybody.

 9         Your Honor, once the government is done with him here and

10    he completes his sentence, he goes to an ICE facility.                                                  He

11    could be there for three months, six months, depending on

12    what he decides to do.                      Even if he were to try to seek to get

13    voluntary departure, he would probably sit down in Tacoma for

14    four months.             He doesn't even have his passport.                                  That will

15    be another problem.                   I know the government has his passport,

16    and hopefully they'll turn it over to ICE so he can be

17    transported.

18         Herein lies the third problem with his immigration status.

19    He joined the United States Army, Your Honor.                                          I don't know

20    how receptive the Peoples Republic of China is going to be if

21    he's returned, knowing that he joined the United States Army.

22    He has those concerns.

23         The other grounds for variance or departure, Your Honor,

24    is his young age.                 Again, I believe he's the youngest of the

25    defendants in the conspiracy.                            He came to the United States



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 1    to better himself, got accepted to UW.                                    His family was happy.

 2    Now, all that's in tatters.                          He seems to think he can go to

 3    Canada.        I seriously doubt, with this conviction, that Canada

 4    is going to let him in.                      I doubt that he's going to be able

 5    to go anywhere other than China for the time being, with this

 6    conviction.

 7         His decision to involve himself in illegal activity has

 8    pretty much destroyed whatever future life he has.                                               Can he go

 9    forward?         Yes.       Can he look beyond it?                        Yes.       But is he going

10    to get the educational opportunities that he had here?                                                  No.

11    He's not going to be able to complete his computer science

12    degree.        He's not going to be able to complete it in Canada.

13    He'll probably complete it in China.                                  However, how many

14    months do we think that he'll sit in a relocation camp

15    because of this wish to be in the U.S. military?

16         Your Honor, I think given the totality of the

17    circumstances, looking at his co-defendants and his

18    involvement, I think a sentence of time served or 12 and a

19    day is appropriate.                   I concede he did not comply with his

20    cooperation agreement.                      But one could say that that would be

21    youthful exuberance.                    I don't know, Your Honor.                          I only know

22    I went through tons of discovery very quickly with him, and I

23    see both sides of the coin.                          That's my recommendation.

24                  THE COURT:             Does your client wish to be heard?

25                  MR. MARCHI:              Yes, he does, Your Honor.



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 1                  THE DEFENDANT:                 Hi, Your Honor.                 I really -- first,

 2    I'm 100 percent responsible for everything I did.                                              And so in

 3    the letter initially I said I was ignorant.                                        I was

 4    deliberately indifferent to this.                               But that was in 2015.                        I

 5    wasn't.        So the first time when I met Ms. Wang, I wasn't know

 6    that exactly that what she was involved in this.                                             Later, when

 7    I was transporting women, so I already knew that something

 8    illegal was going on.                     So -- but the mistakes I made was even

 9    suspecting that there was illegal activities going on.                                                  I was

10    still indifferent to that.                         And then that's how I initially

11    met the law enforcement.

12         So in that letter I, I'm really sorry -- initially I was

13    really sorry for that.                      But after that, I also made a lot of

14    mistakes.          So I just want to talk about how I initially met

15    law enforcement.                So I was transporting a woman, which I

16    should have known that she was involving in prostitution.

17    But I remained indifferent to that.                                 And that was the first

18    mistake I made.               And then I met law enforcement because of

19    that.

20         So after encountering -- after I encountered the law

21    enforcement, I just talked to Mr. Keys from Tukwila, Tukwila

22    Police Department.                  So he just asked me if I knew that the

23    woman was involving in the prostitution.                                      I said, I'm really

24    sorry, yeah, I should have known that, even if I wasn't

25    100 percent sure that's what was going on, still I could like



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 1    know that she was involving in the prostitution.                                             So that was

 2    the initial mistake.

 3         I'm not saying after I met the law enforcement that I

 4    still don't know what was going on with Ms. Wang.                                              So the

 5    first time I spend like many hours discussing about the case

 6    with the local police department.                               So Mr. Keys just told me

 7    that they are investigating about human trafficking and cases

 8    against children or those vulnerable women.

 9         So she -- so he thought I was involving in human

10    trafficking organization.                        And I said yeah, I think they were

11    involving in prostitution.                         And I'm really sorry for what I

12    did.     And I really don't want to engage in those activities

13    anymore.         And then Mr. Keys told me that I want you to remain

14    -- to keep -- so his original word is that I want you to keep

15    working for Cindy.                  And if you got arrested you would just

16    let the other law enforcement officer to know that you were

17    working for me.               So, so, he was providing me a name, Tommy.

18    And then that -- he asked me that if I was willing to assist

19    law enforcement officer.

20         And they were trying to see if they were involving in

21    prostitution or involving in human trafficking, coerced adult

22    prostitution or crime against children.                                     And she just -- he

23    just asked me to -- if I would like to assist law

24    enforcement.             And he didn't threaten me or anything.                                     He just

25    said -- he just asked me if I could help.                                       And I wasn't -- so



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 1    there was like no, like, some exchange.                                      So even if I didn't

 2    agree, and he didn't threaten to charge me anything.                                                 So

 3    that's how we initially met.

 4          And then I continued to work for Ms. Wang.                                          And regularly

 5    I just interact with Mr. Tommy or Mr. Keys.                                         And he just

 6    asked me how I interact with Ms. Wang.                                     I just said I

 7    continue to work with Mrs. Wang.

 8          And then I just -- but the difference is, before I'm asked

 9    the law enforcement officer, I work for financial gains for

10    my personal purpose.                     After that, I just keep trying to see

11    if -- what I can get.                      So because we have discussed many

12    hours in our initial encounter, so he also told me what to

13    do.      So he just asked me, when you are transporting like a

14    woman from the brothels to the airport, you should observe

15    their demeanor, and you should see if they were, like,

16    depressed or if they were in, like, emotional trauma.

17          So you should like notify us so that we can know that she

18    -- those women were under their own will.                                        But other than

19    that, you can continue to transport those women.                                              And then

20    you can continue to, like, work for Cindy.                                        So that's his

21    original word.               But you have to -- yeah, I have to report

22    everything.             And eventually he asked me anything, I will just

23    try to comply.

24          And about the demeanor of those victims.                                        So he also asked

25    me about the schedule, about the prostitutes.                                           So those



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 1    victims, they travel throughout the United States.                                               And I

 2    just check their -- the women, I pick up them from the

 3    airport.         I would just ask and observe their schedule, and to

 4    see the frequency of those women who traveled back and forth.

 5         And later I discovered that Ms. Wang was not the only

 6    individual involved in the conspiracy or involved in the

 7    prostitution business.                      So I just notified Keys.                         And by that

 8    time -- so I already knew like everything about Ms. Wang, as

 9    far as her locations and like who was the driver for her.

10    And some other logistics.

11         And they also asked me to figure out the Backpage

12    advertisements posted by Ms. Wang.                                And I also tried to talk

13    with Ms. Wang about the Backpage.                               So -- sorry -- so I just

14    had the access of her accounts.                              So she asked me to post

15    advertisements.               So I just say okay.                     So I just had that

16    account.         And I actually posted.                       And I didn't tell Keys.

17    That was my mistake.                    Because I didn't -- that was very

18    important.           But I just figure out who, about those contents

19    about those Backpage ads, and I gave Keys about a lot of the

20    numbers like relevant to Ms. Wang.

21         But the case is far more complicated than Ms. Wang.

22    Because those victims, they didn't like only work for

23    Ms. Wang, so they have been working for different other

24    leaders.         So I just told Keys that there were other

25    individuals involved in that prostitution business.                                               It's the



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 1    other leaders who are trying to take advantage of women.                                                     And

 2    Keys said I was trying -- and then Keys asked me if there was

 3    other groups outside Chinese.                            And then I told Keys that

 4    there was another Korean group run by American people.

 5         So by that time -- so I was no longer interacting with

 6    Ms. Wang, because there was no more information from Ms. Wang

 7    and there was no more evidence or no more information from

 8    Wang.      So at that time it was like in the summer of 2015.

 9    And Ms. Wang, I found Ms. Wang just figured that there was

10    something wrong about me, because the way I talk with

11    Ms. Wang was different from the way I talk -- the way I had

12    talked before I encountered law enforcement.                                         So Ms. Wang was

13    suspicious of me and she just tried to distance from me.

14         So by that time my target was no longer Ms. Wang.                                                So I

15    just tried to see the other ringleaders in this area, and I

16    no longer interact with Ms. Wang.                               But I still, even if I

17    didn't interact with Ms. Wang, I kept getting information

18    about Ms. Wang.

19         And then I figure out about Korean group.                                         And also I had

20    asked the victims from Ms. Wang how they knew -- how they

21    came from different cities to Seattle to engage in

22    prostitution.              And they told me that there was a WeChat

23    group.       So in the Grand Jury testimony, a lot of those

24    victims, they testified that a lot of them came to Seattle

25    from the WeChat group.



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 1         So in 2015 I had knowledge of those groups, a lot of

 2    people traveling through the United States to engage in such

 3    activity.          And later I -- around October in 2015 I obtained

 4    WeChat group.              So it was like advertisement.                             So like there

 5    were 500 people inside a group.                              And all of those people,

 6    they were ringleaders, brothel owners in different cities in

 7    the United States.

 8         And a lot of women were victims of the prostitution.                                                    And

 9    they saw the ads from different cities, so they traveled back

10    and forth.           And I saw that information was rather important

11    to the law enforcement.                      And then I just told the local

12    police about the extent of the conspiracy, was not only in

13    Ms. Wang.          So that was in 2015, October.                              And that was still

14    within the jurisdiction of the local police, Tukwila Police.

15    So FBI was not involved.

16         But because of those things -- so the FBI was involved,

17    because it's all, there were -- all those women were

18    traveling interstate.                     So there was an interstate interest

19    from the federal -- federal interest.                                   So that's how the FBI

20    got involved.

21         So after the FBI got involved, so I still communicate, I

22    still met the local law enforcement, along with the FBI.                                                     So

23    there was, like, no difference initially.                                       So, what I've been

24    trying to say is Ms. Wang was not -- so in 2015, it was not a

25    complicated case.                 So Ms. Wang ran like four to five



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 1    different locations.                    But the point I'm trying to make is,

 2    Ms. Wang is only -- that time was like a small fish.                                                So

 3    there were a lot of people like her.

 4         So if we really want to help the victims of those human

 5    trafficking or prostitution cases, so we have to see if we

 6    can prosecute all of those ringleaders, not just focusing on

 7    Ms. Wang.

 8         So I just told the law enforcement that more people will

 9    not engaging in the Backpage.                            And I told the FBI that, and

10    the local police that, the more -- sophisticated people

11    engaging in prostitution were involved in the review board.

12    And the FBI was also interested in the review board.                                                And

13    meanwhile the King County department and the Bellevue was

14    also investigating the review board.                                  So there were like five

15    different agencies involved in prostitution and human

16    trafficking.

17         So I just told those people are more valuable.                                             And those

18    people were more culpable than Ms. Wang or other ringleaders,

19    because they use more sophisticated means.                                       They try to deter

20    law enforcement.                And that was still in 2015.

21         And later in 2016 I still engage with activities with the

22    law enforcement, the FBI.                        Once the FBI got involved in this

23    case, so the case was kind of different.                                      So the FBI just

24    said:      So you had provided me -- provided us a lot of

25    information.             But the point is, I want you to give us some



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 1    evidence.          So you can't claim that some ringleaders was doing

 2    this.      But you have to prove that.                            So I just said okay.                        So

 3    I just keep interacting.                       And I just keep conversing with

 4    Ms. Wang or other ringleaders in greater Seattle area.

 5         And then the FBI asked me to make recordings with

 6    Ms. Wang.          So that's the point when I started to -- that's

 7    the point when my relationship with law enforcement was

 8    getting worse, because the law enforcement wanted me to

 9    directly interact with ringleaders, like Ms. Wang.                                               But I

10    wasn't -- since the summer of 2015, after I have collected

11    all the necessary information, I no longer interact with

12    Ms. Wang.

13         Also I was still trying to hear what was going on about

14    her.     But I wasn't directly talking to her.                                     I wasn't

15    transporting women.                   I wasn't collecting money for her.                                     But

16    still I try to get information from her.

17         But there was like no evidence, because there was no

18    conversations between me and Ms. Wang or other people.                                                  So

19    the law enforcement just tried to say if I could record some

20    criminal conversation for the FBI.                                So I just say, I will try

21    to see that if I could record information.                                       But just don't

22    hope too much.              Because those people -- because I wasn't

23    working for Ms. Wang in 2016, early 2016.                                       So it's really

24    rare and not uncommon for her to contact me.                                         So the law

25    enforcement just gave me a phone and asked me to record



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 1    criminal conversation.                      And then I said, okay, I will try to

 2    see if that work.

 3         And two weeks later I still didn't record any criminal

 4    conversations because there was no contact between me and the

 5    ringleaders or other people involving in this business,

 6    because I wasn't actively interacting with them, those

 7    people.        I have my private life.                        And as far as the case of

 8    Ms. Wang, there was nothing more about her.                                        So she was just

 9    running her business.                     So it was like a pattern, so maybe she

10    had new locations.                  But that was not a complicated case.                                      So

11    I told the FBI that I'm sorry I couldn't record those

12    conversations because there was no interaction.                                            I wasn't

13    involved with Ms. Wang.

14         I could still gather information about those ringleaders

15    or about those people, but there is -- there was like no

16    evidence that -- I try talking to Ms. Wang because the FBI

17    wanted me -- to have to like prove that what I claim about

18    those people, I have to talk with those people.                                            But I wasn't

19    working for those people, so there was no reason for me to

20    talk to them.

21         Then the FBI thought I wasn't very diligent.                                           So I said,

22    okay, I really don't want to be involved in this case.                                                  And

23    then the FBI say, oh, if you don't want to be involved in

24    this case, you should -- I couldn't promise you anything

25    about the prosecute, about the prosecution against you.                                                      And



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 1    I said -- or still, I want to record.                                   And the FBI said

 2    forget about it, you don't have to record anything.                                               I just

 3    want you to continue to interact with Ms. Wang.

 4         So in 2016 I was still the informant for the FBI.                                                I

 5    wasn't an informant -- I was an informant for the local

 6    police in 2015.               But I was an informant for the FBI in 2016.

 7    So the FBI just -- so the FBI didn't say I should work for

 8    the conspiracy, though, actually work for Ms. Wang.                                               So I --

 9    so that was different from the instruction from the local

10    police.        Initially the local police asked me to continue to

11    work for Wang.              But then the FBI just asked me to interact

12    with Wang.

13         So I just see if there's any reason, like any is excuses

14    that I could use to induce Ms. Wang to talk to me, even

15    though I wasn't working for her.                              And Ms. Wang just --

16    somehow Ms. Wang or the other ringleaders would ask me if I

17    could rent an apartment to use as brothels, or if I could do

18    other things for Ms. Wang or those other ringleaders.                                                 I'm

19    sorry, sir, I'm really nervous.

20                  THE COURT:             All right.             I understand your position.

21    I've read your letter.                      Do you have anything further to add?

22                  THE DEFENDANT:                 So, Your Honor, I'm just trying to --

23    because the fact is far more complicated than what I could

24    articulate.            But what I'm trying to say is -- I'm not saying,

25    after law enforcement encountered me I still didn't know



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 1    anything about the business.                           What I'm trying to say is I'm

 2    really -- I knew everything about the business.                                            And I wasn't

 3    -- I wasn't like deliberate indifferent, because in 2016 I

 4    was no longer a driver.                      I was no longer like collecting

 5    money for those ringleaders or other people.                                         But I still

 6    kept interacting with them without working for them.

 7         But the law enforcement, FBI, asked me if I could gather

 8    evidence.          And the evidence is, like, if you have a, like,

 9    conversation that can prove, like, Ms. Wang was trying to

10    recruit women.              So, indeed, Ms. Wang asked me if I could --

11    if I knew any victim that's willing to work for her.                                                And I

12    told the FBI that Ms. Wang asked me if I could find any

13    victim for her.               And I told the FBI that -- no, I told the

14    FBI about what Ms. Wang told me.                              And the FBI asked me, asked

15    me not to introduce any victim to the ringleaders.                                               So I

16    didn't introduce any woman to those ringleaders.

17         And sometimes the ringleaders or Ms. Wang would ask if I

18    could rent an apartment for them, and they would pay me $500

19    to $1,000 per month.                    So I just said -- I didn't reject them.

20    I said, if I could find anybody that's -- if I could find

21    anybody that were willing to rent apartments for Ms. Wang or

22    the other ringleaders.                      So what I mean was, I was trying to

23    see if I can introduce an undercover FBI agent to Ms. Wang.

24         So later I talked to the FBI, I said, Ms. Wang was trying

25    to ask me to rent apartments for her.                                   And then -- sorry,



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 1    Your Honor.

 2                  THE COURT:             All right.             You're going to have to wrap

 3    it up.       I've listened to everything you've had to say.

 4                  THE DEFENDANT:                 Your Honor, I'm sorry, that's not

 5    normal for me.              So what I'm trying to say is I just don't

 6    want to just shift the blame.                            I'm just trying to say, I

 7    wasn't trying to minimize my involvement.                                       And initially I

 8    was indifferent.                But after that I knew everything.                                 And I

 9    had -- I took my responsibility.

10         But the problem is -- Your Honor, I'm sorry.                                           So I'm not

11    trying to say because of the influence of the other factor,

12    I'm trying to say I'm really sorry, but I cannot -- I really

13    snapped.         It was not -- so I'm just really sorry.                                       I don't

14    know -- so this is my first occasion to speaking in this

15    occasion.          So I couldn't express what I've tried to express.

16    And I'm not blaming anybody except for myself.                                           And what I

17    did was really shameful to me.                             And I'm not saying I'm trying

18    to minimize.             I'm trying to say in the letter -- in that

19    letter, I tried to -- I'm sorry, I really couldn't speak in

20    this.

21                  THE COURT:             Thank you.             I understand your position.

22    Let me just say -- please remain standing -- this conspiracy

23    began in October 2013 and went May of 2017.                                        Ms. Wang

24    utilized various accounts to establish on Backpage and post

25    thousands of advertisements offering sexual services.



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 1    Ms. Wang recruited various people.                                One of the people that

 2    she encountered was this defendant.

 3         I want to say first that the guidelines are only a

 4    starting point.               The court needs to consider all of the

 5    factors, which I do under the statute, to decide what's the

 6    appropriate sentence.                     I also want to say that in fashioning

 7    a sentence I'm not going to consider the arguments about his

 8    immigration status or the fact that he may or may not be

 9    deported or he may or may not reside with ICE detention for

10    some period of time.                    That's not the issue.

11         The issue is what is his involvement here and what is the

12    appropriate sentence, considering all of the factors and what

13    would be an appropriate sentence given the sentences that I

14    have imposed for the other defendants in this case.                                               I think

15    this is the last defendant to be convicted.

16         It's undisputed that this defendant had a role in the

17    conspiracy, at least beginning in April of 2015, because we

18    know that he was -- he was in an offer-and-acceptance

19    operation at a hotel.                     He was encountered by the police at

20    that time.           And his role involved various text messages with

21    prostitutes.             He used a profile on the Internet to post

22    dozens of advertisements.

23         It is true that he, for some period of time, assisted the

24    law enforcement in attempting to obtain information.                                                But

25    it's also true, undisputed, and paragraph 17 of this



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 1    presentence report states, which the defendant raised no

 2    objection to, that in violation of his agreement with law

 3    enforcement, he continued to post advertisements and make

 4    client referrals to Ms. Wang and continued to engage in

 5    unlawful prostitution-related conduct.

 6         The government contends he did that from May of 2016 to

 7    sometime in February of 2017.                            I don't know the exact period.

 8    But it is undisputed that this defendant, after agreeing to

 9    cooperate, continued in his -- by violating that cooperation

10    agreement and by actually continuing to post advertisements.

11         I also find that his letter submitted to me and his

12    statement that we've been listening to for the last -- in

13    this hearing, attempts to minimize his role and his

14    activities after he began to cooperate.                                     And I'm satisfied

15    that he continued unlawful prostitution-related conduct

16    after, and without the consent or knowledge of the law

17    enforcement.

18         I'm also, in looking at an appropriate sentence, I need to

19    look at the sentences I have given other defendants.

20

21

22    But in any event, given all of the sentences that I've

23    imposed, given this defendant's activities here, I'm

24    satisfied that the recommendation of the government, a

25    mid-range sentence, is appropriate and not more than



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 1    necessary.

 2         I'm therefore going to sentence this defendant to the

 3    Bureau of Prisons for a period of 21 months, followed by one

 4    year of supervised release, subject to each of the standard

 5    conditions, as well as the special conditions that are set

 6    forth in the sentencing recommendations.                                      I find the

 7    defendant does not have an ability to pay a fine.                                              I'll waive

 8    the fine.          I'll assess the $100 special assessment.                                       And I'll

 9    advise the defendant that to the extent he has not waived his

10    right to appeal the sentence, any appeal must be filed within

11    14 days of the time I sign the judgment.                                      I'll ask counsel

12    whether she has the judgment to present.

13                  MS. CRISHAM:               I do, Your Honor.

14                  MR. MARCHI:              For purposes of the record, I'd make

15    clear Mr. Zhang did object to paragraph 17 in our sentencing

16    memorandum, at page 2.

17                  THE COURT:             Well, I asked you earlier whether there

18    was any objection to any of the facts stated in the

19    presentence report, and I heard no objection.

20                  MR. MARCHI:              It's in my sentencing memorandum, Your

21    Honor.

22                  THE COURT:             I don't think there's any question, even

23    based on his statement today, that he, after he was

24    cooperating with law enforcement, he went back to doing some

25    of the same things he had been doing before.                                         And it's clear



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 1    that law enforcement didn't authorize it or know about it.

 2                  MR. MARCHI:              I would agree with the court today,

 3    given the statements today.

 4                  THE COURT:             Any objection to the form of the

 5    judgment?

 6                  MR. MARCHI:              No objection to the form, Your Honor.

 7                  THE COURT:             I've signed the judgment.                          Anything

 8    further to come before the court?

 9                  MS. CRISHAM:               No.      Thank you, Your Honor.

10                                                 (Adjourned.)

11

12                                         C E R T I F I C A T E

13

14

15         I certify that the foregoing is a correct transcript from

16    the record of proceedings in the above-entitled matter.

17

18

19

20    /s/ Debbie Zurn

21    DEBBIE ZURN
      COURT REPORTER
22

23

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